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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                  (Northern Division)


CHARGEPOINT, INC.,                               §
                                                 §
               Plaintiff,                        §
                                                 §
v.                                               §
                                                 §    Civil Action No. 8:17-cv-03717-MJG
SEMACONNECT, INC.,                               §
                                                 §
               Defendant.                        §
                                                 §
                                                 §

                DEFENDANT SEMACONNECT’S IDENTIFICATION OF
                       NON-INFRINGEMENT DEFENSES

       In accordance with the Court’s order denying ChargePoint’s Motion for Emergency

Injunctive Relief (Dkt. 39 at 2), SemaConnect hereby submits a preliminary identification of

non-infringement defenses of the Asserted Claims.1 SemaConnect contends that the Asserted

Claims are all invalid under 35 U.S.C. §§ 101, 102, 103, and 112 or are unenforceable arising

from ChargePoint’s named inventors’ inequitable conduct, and therefore cannot be infringed. In

addition, the Accused Products do not infringe any of the Asserted Claims, because they do not

practice each and every limitation of the Asserted Claims.

I.     THE ASSERTED PATENTS ARE INVALID, AND THEREFORE CANNOT BE
       INFRINGED

       A party cannot infringe an invalid patent. See Richdel, Inc. v. Sunspool Corp., 714

F.2d 1573, 1580 (Fed. Cir. 1983) (“The claim being invalid there is nothing to be infringed.”).

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   ChargePoint is asserting claims 31 and 32 of U.S. Patent No. 7,956,570 (“the ’570 patent”);
claims 1 and 2 of U.S. Patent No. 8,138,715 (“the ’715 patent”); claims 1 and 8 of U.S. Patent
No. 8,432,131 (“the ’131 patent”); and claims 1 and 2 of U.S. Patent No. 8,450,967 (“the ’967
patent”) (collectively the “Asserted Claims”). The ’570 patent, ’715 patent, ’131 patent, and
’967 patent are collectively referred to as the “Asserted Patents.”
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Since each Asserted Patent is invalid, SemaConnect does not infringe any Asserted Patent. As

explained in SemaConnect’s Motion to Dismiss filed concurrently, the Asserted Patents are

invalid under § 101 because they are directed to an abstract idea (turning a switch “on” and

“off”) and doing so using a conventional and known “remote server” is not an inventive concept

sufficient to confer patent eligibility onto that abstract idea.

        The Asserted Claims are also invalid under §§ 102 (anticipation) and/or 103

(obviousness), since all of their limitations were disclosed by the prior art. One of the named

inventors of the Asserted Patents, David Baxter, admitted that the only alleged difference

between the Asserted Patents and the prior art was that the claimed electric vehicle charging

station is connected to a network and communicates with a remote server. (See Dkt. 7-3 (“Prior

to their invention by ChargePoint (then Coulomb) there were no networked electric vehicle

charging stations, although non-networked electric vehicle charging stations had existed for

many years.”) (emphasis added).) SemaConnect contends that even a networked electrical

vehicle charging station existed prior to the alleged inventions in the Asserted Patents. For

example, charging stations have allowed customers to pay by credit card and would use a

network to verify and process such credit card payments—turning the charging station “on” only

if the network verified the credit card. Without the benefits of discovery or a prior art search

vendor, SemaConnect has already identified the following prior art patents, patent application

publications, and articles that disclose connecting a charging station to a network, which

anticipates or renders obvious the Asserted Claims either alone or when combined with other

references and/or the general knowledge of one of ordinary skill in the art:

               U.S. Patent No. 5,297,664;

               U.S. Patent No. 5,742,229;

               U.S. Patent No. 5,951,229;


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              U.S. Patent No. 6,081,205;

              U.S. Patent No. 6,314,169;

              U.S. Patent No. 8,042,631;

              U.S. Patent App. Pub. No. 2004/0130292;

              U.S. Patent App. Pub. No. 2008/0052145;

              U.S. Patent App. Pub. No. 2008/0053716;

              U.S. Patent App. Pub. No. 2008/0312782;

              U.S. Patent App. Pub. No. 2009/0021213;

              WO 2006/095352;

              WO 2007/141543;

              SAE International, “Energy Transfer System for Electric Vehicles – Part 2:
               Communication Requirements and Network Architecture,” Standard No. J2293/2
               (June 1, 1997);

              M. Bojrup et al., “A dual purpose battery charger for electric vehicles” (May 22,
               1998);

              Steven E. Letendre & Willett Kempton, “The V2G Concept: A New Model For
               Power,” Public Utilities Fortnightly (Feb. 15, 2002) ;

              Alec N. Brooks, “Final Report: Vehicle-to-Grid Demonstration Project: Grid
               Regulation Ancillary Service with a Battery Electric Vehicle” (Dec. 10, 2002);

              Christopher Nitta, “System Control and Communication Requirements of a
               Vehicle-to-Grid (V2G) Network” (Nov. 15, 2003);

              “Vehicle-to-grid power implementation: From stabilizing the grid to supporting
               large-scale renewable energy” (Apr. 11, 2005);

              AeroVironment, Inc., “PosiNET: Fleet Performance Management for your Fast-
               Charged Vehicles” (2006); and

              City of Westminster, “Installation of Two On-Street Recharging Points for
               Electric Vehicles” (Dec. 2006).

       The Asserted Claims are also invalid under § 112 because they do not reasonably convey

their scope to one of ordinary skill, lack adequate written description in the specification, and/or


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are not enabled. For example, all Asserted Claims require a “data control unit” and a “demand

response system.” In light of the breadth ChargePoint attributes to them in its infringement

allegations (see Dkt. 1 at 11-15, 18-19, 21-22, 24-26), these terms do not reasonably convey their

scope to one of ordinary skill, lack adequate written description in the specification, and/or are

not enabled, any one of which renders all the Asserted Claims invalid under § 112.

          Accordingly, all Asserted Claims are invalid under one or more of §§ 101, 102, 103, and

112. Any one of these defenses precludes a finding that SemaConnect infringes the Asserted

Claims.

II.       THE ASSERTED CLAIMS ARE UNENFORCEABLE DUE TO INEQUITABLE
          CONDUCT, AND THEREFORE INFRINGEMENT ALLEGATIONS ARE
          BARRED

          ChargePoint’s allegations of patent infringement are barred by its inventors’ inequitable

conduct. See Regeneron Pharma., Inc. v. Merus N.V., 864 F.3d 1343, 1350 (Fed. Cir. 2017).

The named inventors of the Asserted Patents did not disclose U.S. Patent App. Pub.

No. 2009/0021213 (“the Johnson patent publication”) to the Patent Office, even though they

knew of the Johnson patent publication and its significance to the Asserted Patents.

          The Johnson patent publication discloses a charging station that uses an Internet

connection to verify payment information before allowing an electric vehicle to begin charging.

Because of its significance to the claimed invention, Coulomb (ChargePoint’s predecessor) cited

to the Johnson patent publication in June 2010 during the prosecution of U.S. Patent

No. 7,906,937. The Asserted Patents and the ’937 patent are directed to network-connected

electric vehicle charging stations (in fact, the ’937 patent expressly claims “a networked charging

station”). All of the named inventors of the Asserted Patents are also inventors of the ’937

patent.     None of the Asserted Patents had issued and were either filed and undergoing

prosecution or had not yet been filed when Coulomb disclosed the Johnson patent publication to


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the Patent Office with respect to the ’937 patent. Therefore, the named inventors all knew of the

significance of the Johnson patent publication prior to the Patent Office issuing any of the

Asserted Patents. However, even though the named inventors knew of the Johnson patent

publication, they chose not to disclose the Johnson patent publication during the prosecution of

the Asserted Patents.

       SemaConnect intends to demonstrate that the Patent Office would not have issued the

Asserted Patents but for ChargePoint’s failure to disclose the Johnson patent publication.

SemaConnect intends to conduct discovery and present expert testimony to show that the named

inventors engaged in inequitable conduct, rendering all Asserted Patents unenforceable. See

Regeneron, 864 F.3d at 1350 (explaining that withholding a material reference with the intent to

deceive the Patent Office constitutes inequitable conduct).

III.   SEMACONNECT DOES NOT PRACTICE EACH LIMITATION OF THE
       ASSERTED CLAIMS, AND THEREFORE DOES NOT INFRINGE

       The Accused Products do not infringe any of the Asserted Claims. While SemaConnect

contends that it does not infringe any limitation in the asserted claims, below is an exemplary list

of limitations that SemaConnect identified after a preliminary review of ChargePoint’s

infringement allegations and analysis of the claims as interpreted by ChargePoint.

       A.       All of the Accused Products Do Not Receive a Communication as Part of the
                Demand Response System or Modify the Application of Charge Transfer

       The Accused Products do not practice the following limitations:

               “modify the application of charge transfer based on the communications received
                as part of the demand response system” (’131 patent, claim 1);

               “the communications received as part of the demand response system include
                power grid load data, and wherein the controller is further to manage charge
                transfer based on the received power grid load data” (’131 patent, claim 8); and




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               “a communication for the network-controlled charge transfer device to modify
                application of charge transfer as part of a demand response system” (’967 patent,
                claim 1).

       ChargePoint alleges that these limitations are met by virtue of “smart grid integration for

easy energy metering and demand response.” (Dkt. 1 at 22.) In contrast to the Asserted Patents,

however, the accused charging stations do not receive “communication . . . as part of the demand

response system” and then “modify the application of charge transfer” based thereon. Instead,

decisions relating to energy usage are made at a central facility and the charging station only acts

as a conduit for supplying electricity to the vehicle without making any modifications. The

accused charging station, therefore, neither receives communication that is “part of a demand

response” system, nor does it locally “modify application of charge transfer,” as required by all

asserted claims of the ’131 and ’967 patents.

       B.       At Least Some of the Accused Products Do Not Contain the Claimed “Data
                Control Unit”

       The Accused Products do not contain the claimed “data control unit” in claim 31 of the

’570 patent, claim 1 of the ’131 patent, and claim 1 of the ’715 patent. “[U]nit” is a nonce term,

and the phrase “data control” fails to provide any meaning to the claimed “unit,” other than to

provide a purely functional description. Under Federal Circuit precedent, nonce terms “reflect

nothing more than a verbal constructs [that] may be used in a claim in a manner that is

tantamount to using the word ‘means’ because they ‘typically’ do not connote sufficiently

definite structure’ and therefore may invoke § 112 para. 6.”             See Williamson v. Citrix

Online, LLC, 792 F.3d 1339, 1350 (Fed. Cir. 2015). Therefore, the structure to perform the

claimed functions of the “data control unit” must be limited to only the structure, materials, or

acts described in the specification and equivalents thereof.        See id. at 1347.     Here, the

specification of the Asserted Patents explains that the claimed “data control unit” is “a bridge



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between the LAN and the WAN, and enables communication between the Smartlet™ 110 and

the server 140.” (’570 patent, 6:22-24.) The Accused Products, in contrast, do not include a

bridge between LAN and WAN.2 The Accused Products, therefore, lack “a data control unit,” as

required by all Asserted Claims of the ’570, ’131, and ’715 patents.

       C.       At Least Some of the Accused Products Do Not Contain the Claimed
                Communication From a Transceiver to a Data Control Unit Through a Wide
                Area Network to the Remote Server

       The Accused Products do not practice the following limitations:

               “a transceiver to communicate with a remote server via a data control unit that is
                connected to the remote server through a wide area network” (’131 patent, claim
                1);

               “a transceiver to communicate requests for charge transfer with a remote server
                and receive communication from the remote server via a data control unit that is
                connected to the remote server through a wide area network” (’715 patent, claim
                1); and

               “a data control unit connected to a wide area network for access to said server”
                that is also connected to a “controller” via “a local area network transceiver”
                (’570 patent, claim 31).

       These claim limitations require a communication from “a transceiver” to pass through “a

data control unit” before traveling “through a wide area network” to “the remote server.”

According to the Asserted Patents, “[a] transceiver is a device that both sends and receives

signals, allowing for two-way communication.” (See, e.g., ’570 patent, 8:16-17.) As shown in




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    ChargePoint’s infringement allegations conflate two different products: SemaConnect’s old
“ChargePro Charging Station,” which were discontinued in 2014 and are no longer being sold,
and its newer “Series 6 EV Charging Station.” (See, e.g., Dkt. 1 at 14-15 (citing to documents
regarding both products in support of its allegation that the “Accused Products” meet a single
limitation).) There are important differences between these two products that require that each
product be considered separately. Most relevant here is that the Series 6 Charging Stations (as
well as the charging stations to be installed by SemaConnect as part of the ZEV Investment Plan)
lack the LAN connectivity advertised in connection with the ChargePro Charging Stations.


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Figure 1, reproduced below, the claimed “data control unit” (150) is a separate component from

the apparatus that contains the claimed “transceiver” (110) and claimed “remote server” (140):




(’570 patent, Fig. 1.) The specification explains that the transceiver is located in the apparatus

labeled 110. (’570 patent, 7:28-34.) This transceiver is responsible for the actual “send[ing] and

receiv[ing] [of] signals.” (’570 patent, 8:13-44.) As shown in Figure 1 and as set forth in the

Asserted Claims, the claimed “transceiver” (located in apparatus 110) communicates with a

remote server (140) “via a data control unit” (130). (’570 patent, 6:22-24.) The claim limitation

that the transceiver communicate with a remote server “via a data control unit” specifies that the

communication sent or received by the “transceiver” must pass through the “data control unit”

before arriving at the “remote server,” evidencing that the “data control unit” is external and

separate from the “transceiver.” Moreover, the “data control unit” cannot be a component of the

“remote server,” since the claims require that the “data control unit” communicate with the

“remote server” “through a wide area network.” Therefore, the specification and the claims



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consistently require that the “data control unit” be a separate and distinct external component

from the claimed “transceiver” and “remote server.”

       ChargePoint has failed to identify any external “data control unit” in the Accused

Products that is located between the claimed “transceiver” and the claimed “remote server.”

Even if ChargePoint were to identify such a component, however, that component is not sold or

offered for sale by SemaConnect.

       D.       ChargePoint Has Failed its Burden of Proof in Showing that the Accused
                Products Infringe All the Claimed Limitations

       ChargePoint has failed to set forth any facts that show that the Accused Products infringe

the following limitations:

               “a control device” (’570 patent, claim 31; ’715 patent, claim 1; and ’131 patent,
                claim 1);

               “a current measuring device” (’570 patent, claim 31);

               “a local area network transceiver connected to said controller, said local area
                network transceiver being configured to connect said controller to said data
                control unit” (’570 patent, claim 31);

               “a communication device connected to said controller, said communication device
                being configured to connect said controller to a mobile wireless communication
                device, for communication between the operator of said electric vehicle and said
                controller” (’570 patent, claim 31);

               “a transceiver to communicate requests for charge transfer with a remote server
                and receive communications from the remote server via a data control unit that is
                connected to the remote server through a wide area network” (’715 patent, claim
                1); and

               “an electrical coupler to make a connection with an electric vehicle, wherein the
                control device is to turn electric supply on and off by switching the electric
                coupler on and off” (’715 patent, claim 2).

It is ChargePoint’s, not SemaConnect’s, burden to prove infringement of every limitation of each

Asserted Claim. ChargePoint has failed to prove that the limitations above are found in the

Accused Products, and therefore, SemaConnect does not infringe Asserted Claims.


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IV.    CONCLUSION

       SemaConnect reserves its rights to identify additional defenses once it has had an

opportunity to conduct fact and expert discovery. In addition, SemaConnect intends to rely on

expert discovery to prove each of the defenses identified above. However, as set forth above,

each of these defenses alone demonstrate that SemaConnect does not infringe any of the

Asserted Claims.




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DATED: January 8, 2018              Respectfully submitted,

                                    /s/ Alan L. Whitehurst

                                    Alan L. Whitehurst
                                    DC Bar No. 484873 (admitted pro hac vice)
                                    alanwhitehurst@quinnemanuel.com
                                    Marissa R. Ducca
                                    DC Bar No. 979328 (admitted pro hac vice)
                                    marissaducca@quinnemanuel.com
                                    Deepa Acharya
                                    DC Bar No. 267654 (admitted pro hac vice)
                                    deepaacharya@quinnemanuel.com
                                    Scott E. Lerner
                                    D. Md. Bar No. 13327
                                    scottlerner@quinnemanuel.com
                                    QUINN EMANUEL URQUHART &
                                    SULLIVAN, LLP
                                    777 6th St., N.W., 11th Floor
                                    Washington, DC 20001
                                    Tel: (202) 538-8000
                                    Fax: (202) 538-8100

                                    Sean S. Pak
                                    CA Bar No. 219032 (admitted pro hac vice)
                                    QUINN EMANUEL URQUHART &
                                    SULLIVAN, LLP
                                    50 California Street, 22nd Floor
                                    San Francisco, CA 94111
                                    Tel: (415) 875-6600
                                    Fax: (415) 875-6700

                                    Attorneys for Defendant SemaConnect, Inc.




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                               CERTIFICATE OF SERVICE

       I hereby certify that all counsel of record who are deemed to have consented to electronic

service are being served with a copy of this document on January 8, 2018.


                                                           /s/ Alan L. Whitehurst________
                                                           Alan L. Whitehurst




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